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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 ([___])

                                             Debtors.                  (Joint Administration Requested)



                                DEBTORS’ MOTION
                            FOR ENTRY OF INTERIM AND
                        FINAL ORDERS (I)(A) APPROVING THE
                    DEBTORS’ PROPOSED ADEQUATE ASSURANCE
                    OF PAYMENT FOR FUTURE UTILITY SERVICES,
               (B) APPROVING THE DEBTORS’ PROPOSED PROCEDURES
              FOR RESOLVING ADDITIONAL ASSURANCE REQUESTS, AND
         (C) PROHIBITING UTILITY PROVIDERS FROM ALTERING, REFUSING,
         OR DISCONTINUING SERVICES; AND (II) GRANTING RELATED RELIEF

          iMedia Brands, Inc. and its affiliated debtors and debtors in possession (each a “Debtor”

and, collectively, the “Debtors”) in the above-captioned chapter 11 cases, by and through their

undersigned proposed counsel, hereby submit this motion (this “Motion”) for entry of interim and

final orders granting the relief described below. In support hereof, the Debtors rely on the

Declaration of James Alt, Chief Transformation Officer of iMedia Brands, Inc., in Support of the

Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day Declaration”),2 filed

concurrently herewith, and further represent as follows:




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
    Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
    (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
    FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
    Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them either later in
    the Motion or in the First Day Declaration.
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                                  JURISDICTION AND VENUE

        1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware dated

February 29, 2012. Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure for the District of Delaware (the “Local Rules”), the Debtors confirm their consent to

the entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

        2.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of these chapter

11 cases and this Motion is proper in this district under 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory bases for the relief requested herein are sections 105(a) and 366 of

title 11 of the United States Code, as amended (the “Bankruptcy Code”), Rules 6003 and 6004 of

the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), and Local Rule 9013-1(m).

                                       RELIEF REQUESTED

        4.      The Debtors seek entry of interim and final orders, substantially in the forms

attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and

the “Final Order”), (i)(a) approving the Debtors’ proposed adequate assurance of payment for

future utility services, (b) approving the Debtors’ proposed procedures for resolving requests for

adequate assurance, and (c) prohibiting utility providers from altering, refusing, or discontinuing

services; and (ii) granting related relief.




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       5.      The Debtors further respectfully request that the Court schedule a final hearing to

consider approval of this Motion on a final basis within thirty days following the Petition Date

(as defined below), or as soon thereafter as the Court’s schedule permits.

                                        BACKGROUND

       6.      On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief pursuant to chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses

and managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code. Concurrently with the filing of this Motion, the Debtors filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases pursuant to

Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has been made

in these chapter 11 cases, and no official committee of unsecured creditors has been appointed in

these chapter 11 cases.

       7.      The Debtors, together with their non-Debtor affiliates (the “Company”), capitalize

on the convergence of entertainment, ecommerce, and advertising. The Company’s global

portfolio of entertainment, consumer brands and media commerce services businesses—including

ShopHQ, 1-2-3.tv, Christopher & Banks, and iMedia Digital Services—cross promote and

exchange data with each other to optimize the engagement experiences the Company creates for

advertisers and consumers. The Company’s ecommerce business extends across the United States,

while the Company’s entertainment and advertising services reach customers across the United

States, Canada, Germany, and Austria.

       8.      Additional factual background regarding the Debtors, including their business

operations, their corporate and capital structure, and the events leading to the filing of these




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chapter 11 cases, is set forth in detail in the First Day Declaration, filed concurrently herewith and

incorporated herein by reference.

A.       THE UTILITY SERVICES AND UTILITY PROVIDERS

         9.       In connection with the operation of their business and management of their

properties, the Debtors obtain internet, electricity, natural gas, water, waste management, and other

similar services (collectively, the “Utility Services”) from a number of utility providers or brokers

(collectively, the “Utility Providers”). As of the Petition Date, the Debtors had approximately

63 utility accounts.3 A nonexclusive list of the Utility Providers and their affiliates that provide

Utility Services to the Debtors as of the Petition Date (the “Utility Providers List”) is attached

hereto as Exhibit C.4

         10.      Uninterrupted Utility Services are essential to the Debtors’ ongoing business

operations and, hence, the overall success of these chapter 11 cases. The Debtors’ business

operations require uninterrupted electricity, internet, heat, water, and other utility services. Should

any Utility Provider refuse or discontinue service, even for a brief period, the Debtors’ business

operations would be severely disrupted.                Such disruption would adversely affect customer

goodwill and employee relations, which, in turn, would jeopardize the Debtors’ reorganization

efforts. Accordingly, it is essential that the Utility Services continue uninterrupted during these

chapter 11 cases.



3
     This number includes only active accounts where one of the Debtors is a named party on the account. This
     number does not include accounts related to closed retail locations which have been terminated prior to the
     Petition Date.
4
     The inclusion of any entity on, or the omission of any entity from, the Utility Providers List is not an admission
     by the Debtors that such entity is, or is not, a utility within the meaning of section 366 of the Bankruptcy Code,
     and the Debtors reserve all rights with respect to any such determination. Additionally, although Exhibit C is
     intended to be comprehensive, the Debtors may have inadvertently omitted one or more Utility Providers. By
     this motion, the Debtors request relief applicable to all Utility Providers, regardless of whether such Utility
     Provider is specifically identified on Exhibit C.



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         11.      To the best of their knowledge, the Debtors are not in default or arrearages with

respect to their obligations for prepetition Utility Services.                   On average, the Debtors pay

approximately $450,000 each month for Utility Services, calculated as a historical average

payment for the last twelve months.5 The Debtors do not anticipate this monthly average will

change materially during the initial thirty days following the commencement of these chapter 11

cases. Accordingly, the Debtors estimate that their cost for Utility Services during the next

thirty days will be approximately $450,000.

B.       PROPOSED ADEQUATE ASSURANCE OF PAYMENT

         12.      The Debtors intend to satisfy postpetition obligations owed to the Utility Providers

in a timely manner. The Debtors believe that cash held by the Debtors, cash generated in the

ordinary course of business, and cash available to the Debtors under their proposed debtor in

possession financing facility will provide sufficient liquidity to pay the Debtors’ Utility Service

obligations in accordance with their prepetition practice.

         13.      The Debtors believe that the foregoing satisfies the requirements under section 366

of the Bankruptcy Code, which requires debtors to provide adequate assurance of payment for

future utility services. Nonetheless, as additional adequate assurance of payment, the Debtors

propose to deposit $225,000 (the “Adequate Assurance Deposit”), into a segregated account

(the “Adequate Assurance Account”) for the benefit of the Utility Providers. The Adequate

Assurance Deposit represents an amount equal to approximately one-half of the Debtors’ average

monthly cost of Utility Services, as of the Petition Date, calculated as a historical average payment




5
     This average reflects the average monthly cost over the last 12 months for the Debtors’ active accounts for Utility
     Services. This amount does not reflect amounts previously paid for services at retail locations closed prior to the
     Petition Date.



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for the last twelve-months, net of any prepetition deposits, letters of credit, surety bonds or other

similar forms of adequate assurance of payment already provided to the Utility Providers.

       14.     The Adequate Assurance Deposit will be held in a segregated PNC Financial

Services account that is maintained by iMedia Brands, Inc. for the duration of these chapter 11

cases, for the benefit of each Utility Provider, subject to the Debtors’ right to terminate or

discontinue the applicable Utility Services, and may be applied to any postpetition defaults in

payment to the Utility Providers. The Adequate Assurance Deposit will be held by the Debtors.

       15.     The Debtors submit that the Adequate Assurance Deposit, in conjunction with the

Debtors’ ability to pay for future Utility Services in accordance with their prepetition practices

(collectively, the “Proposed Adequate Assurance”), constitutes sufficient adequate assurance to

the Utility Providers in full satisfaction of section 366 of the Bankruptcy Code.

C.     THE ADEQUATE ASSURANCE PROCEDURES

       16.     In light of the severe consequences to the Debtors’ businesses and operations that

would result from any interruption in Utility Services, but recognizing the right of the Utility

Providers to evaluate the Proposed Adequate Assurance, if a Utility Provider believes additional

adequate assurance is required, it may request such assurance pursuant to the following procedures

(the “Adequate Assurance Procedures”):

               a.      The Debtors will serve a copy of the Motion and the Interim Order granting
                       the relief requested herein to each Utility Provider identified on Exhibit C
                       within two business days after entry of the Interim Order.

               b.      Subject to paragraphs (f)-(k) herein, the Debtors will deposit the Adequate
                       Assurance Deposit, in the aggregate amount of $225,000, in the Adequate
                       Assurance Account as soon as practicable after entry of the Interim Order.

               c.      Each Utility Provider shall be entitled to the funds in the Adequate
                       Assurance Account in the amount set forth for such Utility Provider in the
                       column labeled “Proposed Adequate Assurance” on the Utility Providers
                       List.



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d.    If an amount relating to Utility Services provided postpetition by a Utility
      Provider is unpaid, remains unpaid beyond any applicable grace period, and
      is undisputed, such Utility Provider may request a disbursement from the
      Adequate Assurance Account by giving notice to: (i) the Debtors, iMedia
      Brands, Inc., 6740 Shady Oak Road, Eden Prairie, MN 55344-3433
      (Attn: Tim Peterman); (ii) proposed co-counsel to the Debtors, Ropes
      & Gray LLP, 1211 Avenue of the Americas, New York, NY 10036
      (Attn: Cristine            Pirro             Schwarzman,               email:
      cristine.schwarzman@ropesgray.com); Ropes & Gray LLP, 191 North
      Wacker Drive, 32nd Floor, Chicago, IL 60606 (Attn: Stephen L. Iacovo,
      email: stephen.iacovo@ropesgray.com), and Pachulski Stang Ziehl & Jones
      LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801 (Attn: Laura
      Davis Jones, email: ljones@pszjlaw.com and Timothy P. Cairns, email:
      tcairns@pszjlaw.com); (iii) counsel to any official committee appointed in
      the chapter 11 cases; (iv) the United States Trustee for the District of
      Delaware, 844 N. King Street, Room 2207, Wilmington, DE 19801 (Attn:
      Richard L. Schepacarter, email: richard.schepacarter@usdoj.gov); and (v)
      to the extent not listed herein, those parties requesting notice pursuant to
      Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The Debtors
      shall honor such request within five business days after the date the request
      is received by the Debtors. The Debtors and any such requesting Utility
      Provider maintain the ability to resolve any dispute regarding such request
      without further order of the Court. To the extent a Utility Provider receives
      a disbursement from the Adequate Assurance Account, the Debtors shall
      replenish the Adequate Assurance Account in the amount disbursed.

e.    The portion of the Adequate Assurance Deposit attributable to each Utility
      Provider (including any additional amount deposited upon request of any
      applicable Utility Provider), or any portion thereof, shall revert to the
      Debtors less any amounts owed on account of unpaid, postpetition Utility
      Services, by no later than five business days following the earlier of the date
      upon which (i) the Debtors reconcile and pay the Utility Provider’s final
      invoice in accordance with applicable nonbankruptcy law following the
      Debtors’ termination of Utility Services from such Utility Provider or
      (ii) the effective date of any chapter 11 plan confirmed in these chapter 11
      cases.

f.    Any Utility Provider desiring additional assurances of payment in the form
      of deposits, prepayments, or otherwise must serve a request for additional
      assurance (an “Additional Assurance Request”) on the Notice Parties.

g.    Any Additional Assurance Request must: (i) be in writing; (ii) identify the
      location for which the Utility Services are provided; (iii) summarize the
      Debtors’ payment history relevant to the affected account(s); (iv) certify the
      amount that is equal to one-half the monthly cost of the Utility Services the
      Utility Provider supplies to the Debtors, calculated as a historical average
      over the last twelve-months; (v) provide evidence that the Debtors have a


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                      direct obligation to the Utility Provider; and (vi) explain why the Utility
                      Provider believes the Proposed Adequate Assurance is not sufficient
                      adequate assurance of future payment. Any Additional Assurance Request
                      that does not fully comply with the foregoing requirements shall be deemed
                      invalid.

              h.      If a Utility Provider fails to file and serve an Additional Assurance Request
                      the Utility Provider shall be (i) deemed to have received “satisfactory”
                      adequate assurance of payment in compliance with section 366 of the
                      Bankruptcy Code and (ii) forbidden from altering, refusing, or
                      discontinuing Utility Services to, or discriminating against, the Debtors on
                      account of any unpaid prepetition charges.

              i.      Without further order of the Court, the Debtors may resolve any Additional
                      Assurance Request by mutual agreement with a Utility Provider, and the
                      Debtors may, in connection with any such agreement, provide a Utility
                      Provider with additional adequate assurance of payment, including, but not
                      limited to, cash deposits, prepayments, or other forms of security if the
                      Debtors believe that such adequate assurance is reasonable.

              j.      If the Debtors determine in their business judgment that the Additional
                      Assurance Request is not reasonable and the Debtors are unable to reach an
                      alternative resolution with the Utility Provider within twenty days of receipt
                      of the Additional Assurance Request, the Debtors may request a hearing
                      (the “Determination Hearing”) before the Court to determine the adequacy
                      of assurance of payment with respect to that Utility Provider pursuant to
                      section 366(c)(3) of the Bankruptcy Code.

              k.      Pending resolution of such dispute at a Determination Hearing, the relevant
                      Utility Provider shall be prohibited from altering, refusing, or discontinuing
                      Utility Services to the Debtors on account of: (i) unpaid charges for
                      prepetition services; (ii) a pending Additional Assurance Request; or
                      (iii) any objections filed in response to the Proposed Adequate Assurance.

D.     MODIFICATIONS TO THE UTILITY PROVIDERS LIST.

       17.    The Debtors have made an extensive and good-faith effort to identify all Utility

Providers and include them on the Utility Providers List. Nonetheless, to the extent the Debtors

identify new or additional Utility Providers or discontinue services from existing Utility

Providers, the Debtors request the authority to add or remove such parties from the Utility

Providers List; provided, however, that the Debtors shall provide notice of any such addition or

removal to the Notice Parties.


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       18.     For any Utility Provider that is subsequently added to the Utility Providers List, the

Debtors will serve such Utility Provider with a copy of the Interim Order or Final Order, as

applicable, including the Adequate Assurance Procedures, and provide such Utility Provider

fourteen days’ notice to object to the inclusion of such Utility Provider on the Utility Providers

List. The Debtors request the authority to increase the Adequate Assurance Deposit by an amount

equal to approximately one-half of the Debtors’ monthly average cost of services from the

subsequently added Utility Provider, net of any prepetition deposits, letters of credit, or surety

bonds already provided to the Utility Provider in the ordinary course of business. The Debtors

request that the terms of the Court’s order and the Adequate Assurance Procedures apply to any

subsequently identified Utility Provider to the same extent as if the Utility Provider was listed on

the original Utility Providers List attached hereto.

       19.     Upon the discontinuance of any Utility Service, the Debtors seek authority to, in

their discretion and without further order of the Court, reduce the Adequate Assurance Deposit by

an amount not exceeding, for each of the Utility Services being discontinued, the lesser of

(a) one-half of the average monthly cost of such Utility Services, calculated based on the

aforementioned historical average, to align with the go-forward average monthly cost of Utility

Services and (b) the amount of the Adequate Assurance Deposit then attributable to the applicable

Utility Provider; provided that for any Utility Provider for which the Adequate Assurance Deposit

is reduced, the Debtors shall have (i) provided such Utility Provider with fourteen days’ notice of

such reduction and (ii) paid such Utility Provider in full and for any outstanding postpetition

Utility Services. To the extent that there is any dispute as to the postpetition amounts owed to a

Utility Provider proposed to be removed from the Utilities Providers List, such Utility Provider




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shall not be removed from the Utility Providers List, and no funds shall be removed from the

Adequate Assurance Deposit, until such dispute has been resolved.

                                      BASIS FOR RELIEF

A.     SUFFICIENT CAUSE EXISTS TO APPROVE THE ADEQUATE ASSURANCE
       PROCEDURES

       20.     The Court possesses the power, under section 105(a) of the Bankruptcy Code, to

“issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of this title.” The Adequate Assurance Procedures and the Proposed Adequate Assurance are

necessary and appropriate to carry out the provisions of the Bankruptcy Code, particularly

section 366 thereof. Accordingly, the Court should exercise its powers under sections 366 and

105(a) of the Bankruptcy Code and approve both the Proposed Adequate Assurance and the

Adequate Assurance Procedures.

       21.     Section 366 of the Bankruptcy Code protects a debtor against the immediate

termination or alteration of utility services after the petition date.      See 11 U.S.C. § 366.

Section 366(c)(2) requires the debtor to provide “adequate assurance” of payment for postpetition

services in a form “satisfactory” to the utility provider within thirty days of the Petition Date, or

the utility provider may alter, refuse, or discontinue service.           11 U.S.C. § 366(c)(2).

Section 366(c)(1) of the Bankruptcy Code enumerates what constitutes “assurance of payment.”

11 U.S.C. § 366(c)(1). Although assurance of payment must be “adequate,” it need not constitute

an absolute guarantee of a debtors’ ability to pay. See, e.g., In re Great Atl. & Pac. Tea Co.,

No. 11-CV-1338, 2011 WL 5546954, at *5 (Bankr. S.D.N.Y. Nov. 14, 2011) (finding that

“[c]ourts will approve an amount that is adequate enough to insure against unreasonable risk of

nonpayment, but are not required to give the equivalent of a guaranty of payment in full”); In re

Caldor, Inc., 199 B.R. 1, 3 (S.D.N.Y. 1996) (“Section 366(b) requires . . . adequate assurance of



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payment. The statute does not require an absolute guarantee of payment.” (internal quotation and

citation omitted)), aff’d sub nom. Va. Elec. & Power Co. v. Caldor, Inc., 117 F.3d 646 (2d Cir.

1997) (“Section 366(b) requires . . . ‘adequate assurance’ of payment. The statute does not require

an absolute guarantee of payment.”) (citation omitted).

       22.     When considering whether a given assurance of payment is “adequate,” the Court

should examine the totality of the circumstances to make an informed decision as to whether the

Utility Provider will be subject to an unreasonable risk of nonpayment. See Mass. Elec. Co.

v. Keydata Corp. (In re Keydata Corp.), 12 B.R. 156, 158 (B.A.P. 1st Cir. 1981) (citing In re

Cunha, 1 B.R. 330 (Bankr. E.D. Va. 1979)) (stating that the meaning of “adequate assurance of

payment . . . depends upon the facts and circumstances of each case, keeping in mind the intent of

Congress to protect the utility company while preventing discrimination against the debtor”); In

re Adelphia Bus. Solutions, Inc., 280 B.R. 63, 82-83 (Bankr. S.D.N.Y. 2002) (finding that “the

heart of the inquiry . . . is the examination of the totality of the circumstances to make an informed

judgment as to whether or not the utilities would be subject to an unreasonable risk of payment”).

       23.     Courts have recognized that, in determining the requisite level of adequate

assurance, however, “a bankruptcy court must focus upon the need of the utility for assurance, and

. . . require that the debtor supply no more than that, since the debtor almost perforce has a

conflicting need to conserve scarce financial resources.” Va. Elec. & Power Co., 117 F.3d at 650

(internal quotations omitted) (citing In re Penn Jersey Corp., 72 B.R. 981, 985 (Bankr. E.D. Pa.

1987)); see also In re Penn. Cent. Transp. Co., 467 F.2d 100, 103–04 (3d Cir. 1972) (affirming

the bankruptcy court’s ruling that no utility deposits were necessary where such deposits likely

would “jeopardize the continuing operation of the [debtor] merely to give further security to

suppliers who already are reasonably protected”). Accordingly, demands by a Utility Provider for




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a guarantee of payment should be refused when the Debtors’ specific circumstances already afford

adequate assurance of payment.

       24.     Further, courts are permitted to fashion reasonable procedures, such as the

Adequate Assurance Procedures proposed herein, to implement the protections afforded under

section 366 of the Bankruptcy Code. See, e.g., In re Circuit City Stores, Inc., No. 08-35653, 2009

WL 484553, at *5 (Bankr. E.D. Va. Jan. 14, 2009) (stating that “[t]he plain language of § 366 of

the Bankruptcy Code allows the Court to adopt the Procedures set forth in the Utility Order”).

Such procedures are important because, without them, debtors “could be forced to address

numerous requests by utility companies in an unorganized manner at a critical period in their

efforts to reorganize.” Id.

       25.     Here, the Debtors respectfully submit that the Utility Providers are adequately

assured against any risk of nonpayment for future services, especially in light of the

Debtors’ prepetition history of paying Utility Service obligations on time and in the ordinary

course. The Adequate Assurance Deposit and the Debtors’ ongoing ability to meet obligations as

they come due in the ordinary course provide assurance of the Debtors’ payment of their future

obligations. Moreover, any rights the Utility Providers have under sections 366(b) and (c)(2) of

the Bankruptcy Code are wholly preserved under the Adequate Assurance Procedures.

Specifically, the Utility Providers may choose, in accordance with the Adequate Assurance

Procedures, to request modification of the Proposed Adequate Assurance and be heard on such

request, albeit in an organized and value-maximizing manner.

       26.     The Adequate Assurance Procedures avoid a haphazard and chaotic process

whereby each Utility Provider could make an extortionate, last-minute demand for adequate

assurance that would force the Debtors to pay under the threat of losing critical Utility Services.




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See In re Circuit City, 2009 WL 484553, at *5 (noting that “[t]he orderly process contemplated

by [the Debtors’] Procedures is necessary for the Debtors’ smooth transition into chapter 11, and

it will ensure that all parties act in good faith by establishing a fair process that has been reviewed

by the Court”). Moreover, termination of Utility Services could result in the Debtors’ inability to

operate their business to the detriment of all stakeholders. Cf. In re Monroe Well Serv., Inc.,

83 B.R. 317, 321–22 (Bankr. E.D. Pa. 1988) (noting that without utility service the debtors “would

have to cease operations” and that section 366 of the Bankruptcy Code “was intended to limit the

leverage held by utility companies, not increase it”).

         27.      The importance of adequate assurance procedures to a debtor’s reorganization

efforts has been repeatedly recognized by courts in this district, and such courts have granted relief

similar to the relief requested herein. See, e.g., In re FB Debt Financing Guarantor, LLC,

No. 23-10025 (KBO) (Bankr. D. Del. Jan. 13, 2023) (approving adequate assurance deposit equal

to one-half of debtor’s monthly utility expenses); In re OSG Group Holdings, Inc., No. 22-10718

(JTD) (Bankr. D. Del. Aug. 29, 2022) (same); In re Enjoy Technology, Inc., No. 22-10580 (JKS)

(Bankr. D. Del. July 20, 2022) (same); In re PWM Property Management LLC, No. 21-11445

(MFW) (Bankr. D. Del. Dec. 1, 2021) (same); In re Nine Point Energy Holdings, Inc.,

No. 21-10570 (MFW) (Bankr. D. Del. Apr. 7, 2021) (same).6

B.       IMMEDIATE AND UNSTAYED RELIEF IS NECESSARY

         28.      The Court may grant the relief requested in this Motion immediately if the “relief

is necessary to avoid immediate and irreparable harm.” Bankruptcy Rule 6003; In re First NLC

Fin. Servs., LLC, 382 B.R. 547, 549 (Bankr. S.D. Fla. 2008). The Third Circuit has interpreted

the language “immediate and irreparable harm” in the context of preliminary injunctions. In that


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     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
     Copies of these orders are available upon request to the Debtors’ proposed counsel.


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context, the Third Circuit has instructed that irreparable harm is that which “cannot be redressed

by a legal or an equitable remedy following a trial.” Instant Air Freight Co. v. C.F. Air Freight,

Inc., 882 F.2d 797, 801 (3d Cir. 1989). The Debtors submit that, for the reasons already set forth

herein, the relief requested in this Motion is necessary to avoid immediate and irreparable harm to

the Debtors and their estates.

       29.     The Debtors also request that the Court waive the stay imposed by Bankruptcy Rule

6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other than

cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief that the Debtors seek

in this Motion is necessary for the Debtors to operate without interruption and to preserve value

for their estates. Accordingly, the Debtors respectfully request that the Court waive the fourteen

(14)-day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief sought

herein justifies immediate relief.

                                 RESERVATION OF RIGHTS

       30.     Nothing in this Motion: (a) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the Debtors or their estates; (b) shall impair, prejudice, waive,

or otherwise affect the rights of the Debtors or their estates to contest the validity, priority, or

amount of any claim against the Debtors or their estates; (c) shall impair, prejudice, waive, or

otherwise affect the rights of the Debtors or their estates with respect to any and all claims or

causes of action against any third party; or (d) shall be construed as a promise to pay a claim or

continue any applicable program postpetition, which decision shall be in the discretion of the

Debtors. Any payment made pursuant to an order of the Court granting the relief requested herein




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is not intended to be nor should it be construed as an admission as to the validity of any claim or

a waiver of the Debtors’ rights to subsequently dispute such claim.

                                               NOTICE

        31.     The Debtors will provide notice of this Motion to: (a) United States Trustee for the

District of Delaware, 844 N. King Street, Room 2207, Wilmington, Delaware 19801 (Attn:

Richard L. Schepacarter, email: richard.schepacarter@usdoj.gov); (b) the United States Attorney’s

Office for the District of Delaware; (c) the state attorneys general for all states in which the Debtors

conduct business; (d) the Internal Revenue Service; (e) the United States Securities and Exchange

Commission; (f) the holders of the fifty (50) largest unsecured claims against the Debtors on a

consolidated basis; (g) counsel to the Prepetition Agent, Blank Rome LLP, 1201 North Market

Street, Suite 800, Wilmington, Delaware 19801 (Attn: Regina Stango Kelbon, Esq., email:

regina.kelbon@blankrome.com); (h) counsel to Crystal Financial LLC d/b/a SLR Credit Solutions,

Morgan Lewis & Bockius, LLP, One Federal Street, Boston, Massachusetts 021110 (Attn: Julia

Frost-Davies, email: julia.frost-davies@morganlewis.com); (i) the indenture trustee for the Senior

Unsecured Notes; (j) banks and financial institutions where the Debtors maintain accounts; and

(k) any party that has requested notice pursuant to Bankruptcy Rule 2002.                 The Debtors

respectfully submit that, in light of the nature of the relief requested, no further notice is necessary.



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                                        CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court enter interim and final

orders, substantially in the forms attached hereto as Exhibit A and Exhibit B, granting the relief

requested herein and such other relief as the Court deems appropriate under the circumstances.

Dated: June 29, 2023                   PACHULSKI STANG ZIEHL & JONES LLP
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                                       -and-

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